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                                                                  October 13 , 2022

       BY ECF FILING

       Hon. Kenneth Karas
       United States District Judge
       Southern District of New York
       300 Quarropas Street
       White Plains, New York 10601-4150

                   Re :      U.S . and State of New York ex rel. Munford v. Maranatha Human Svcs., et al.
                             18 CV 08892 (KMK) (AEK)

       Dear Judge Karas:

               We write,jointly with Relator's counsel, respectfully to request an adjournment of the
       pre-motion conference currently scheduled for October 20, 2022, pertaining to Relator' s motion
       for leave to amend her complaint. The parties jointly request an adjournment of the pre-motion
       conference until after the close of fact discovery, which is currently scheduled to be completed
       by November 14, 2022.

              The parties do not anticipate that discovery will be impacted by a decision on Relator' s
       motion. Therefore, given the amount of time the parties will need to dedicate to discovery in
       this matter between now and November 14, 2022, with nearly a dozen depositions to take and
       defend between now and then, we respectfully request that the pre-motion conference on
       October 20th be adjourned to after November 14th.

                             Thank you for your consideration of this request.

                                                                  Respectfully submitted,
         Granted. The conference is adjourned to
         111 llP 122, at     Ii ·.oo
     1}!;,de,ed                                                   Christopher J. Stevens
        10/13/22
                                                                  Counsel for Defendant Maranatha


                                                                  Heidi A. Wendel

                                                                  Heidi A. Wendel
                                                                  Counsel for Relator Stephanie Munford

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